              Case 2:99-cr-00051-MCE Document 339 Filed 05/16/06 Page 1 of 2




1

2

3

4

5

6

7

8                             IN THE UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                            No. CR S-99-0051 GEB PAN P

12          vs.

13   JAVIER MORA,

14                  Movant.                                ORDER

15                                                /

16                  Movant is a federal prisoner proceeding pro se with a motion to vacate, set aside

17   or correct his sentence pursuant to 28 U.S.C. § 2255. By order filed March 31, 2006, this court

18   set a briefing schedule for disposition of the motion. On April 10, 2006, respondent filed a

19   motion to dismiss on the grounds that movant’s motion is barred by the statute of limitations. On

20   April 13, 2006, movant filed a document styled as a request for a continuance. In the request,

21   which predates the filing of respondent’s motion to dismiss, movant contends that he is without

22   access to his legal materials and is awaiting a disciplinary transfer to another federal correctional

23   facility. Good cause appearing, movant will be granted a period of sixty days in which to file and

24   serve an opposition to respondent’s motion to dismiss.

25                  In accordance with the above, IT IS HEREBY ORDERED that within sixty days

26   from the date of this order movant shall file and serve an opposition, if any he has, to

                                                       1
              Case 2:99-cr-00051-MCE Document 339 Filed 05/16/06 Page 2 of 2




1    respondent’s April 10, 2006 motion to dismiss. Respondent’s reply, if any, shall be filed and

2    served not later than ten days thereafter. Movant is cautioned that failure to file an opposition in

3    accordance with this order may result in a recommendation that his § 2255 motion be dismissed.

4    DATED: May 15, 2006.

5

6

7

8

9

10

11

12
     12
13   mora0051.236

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                      2
